       3:11-cv-03290-RM-TSH # 33             Page 1 of 61
                                                                                                 E-FILED
                                                              Monday, 30 November, 2015 03:47:21 PM
                                                                         Clerk, U.S. District Court, ILCD


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

THE UNITED STATES OF AMERICA,                    )
and THE STATES OF CALIFORNIA,                    )
DELAWARE, ILLINOIS, INDIANA,                     )
MASSACHUSETTS, MINNESOTA,                        )
MONTANA, NEVADA, NEW JERSEY,                     )
NORTH CAROLINA, RHODE ISLAND,                    )
and VIRGINIA ex rel. TRACY                       )
SCHUTTE and MICHAEL YARBERRY,                    )
                                                 )
                                                 )
     Plaintiffs,                                 ) No. 11-cv-03290
                                                 )
v.                                               )
                                                 )
SUPERVALU, INC., SUPERVALU                       )
HOLDINGS, INC., FF ACQUISITIONS,                 )
LLC, FOODARAMA, LLC, SHOPPERS                    ) JURY TRIAL DEMAND
FOOD WAREHOUSE CORP.,                            )
SUPERVALU PHARMACIES, INC.,                      )
ALBERTSON’S, LLC, JEWEL OSCO                     )
SOUTHWEST LLC, NEW                               )
ALBERTSON’S, INC., AMERICAN                      )
DRUG STORES, LLC, ACME                           )
MARKETS, INC., SHAW’S                            )
SUPERMARKET, INC., STAR                          )
MARKET COMPANY, INC., JEWEL                      )
FOOD STORES, INC., and AB                        )
ACQUISITION LLC                                  )
                                                 )
     Defendants.                                 )

            PLAINTIFFS’ FIRST AMENDED COMPLAINT WITH JURY DEMAND
               PURSUANT TO FEDERAL AND STATE FALSE CLAIMS ACTS

       Tracy Schutte and Michael Yarberry (“Relators”) file this First Amended Complaint on

behalf of the United States and the States of California, Delaware, Illinois, Indiana,

Massachusetts, Minnesota, Montana, Nevada, New Jersey, North Carolina, Rhode Island, and,

Virginia (collectively referenced as “States” or “Plaintiff States”), against Defendants Supervalu,

Inc., Supervalu Holdings, Inc., FF Acquisitions, LLC, Foodarama, LLC, Shoppers Food
       3:11-cv-03290-RM-TSH # 33             Page 2 of 61



Warehouse Corp., Supervalu Pharmacies, Inc., Albertson’s, LLC, Jewel Osco Southwest LLC,

New Albertson’s, Inc., American Drug Stores, LLC, Acme Markets, Inc., Shaw’s Supermarket,

Inc., Star Market Company, Inc., Jewel Food Stores, Inc., AB Acquisitions LLC and their

subsidiaries, affiliates, and related organizations, including but not limited to SuperValu,

Albertsons, Acme Sav-On Pharmacy, Albertsons Osco Pharmacy, Albertsons Sav-On Pharmacy,

Bigg’s Pharmacy, Cub Pharmacy, Farm Fresh Pharmacy, Jewel Pharmacy, Jewel-Osco

Pharmacy, Save-A-Lot, Shaw’s Osco Pharmacy, Scott’s Pharmacy, Shop N’ Save Pharmacy,

Shop N’ Save Osco Pharmacy, Shoppers Pharmacy, and Star Osco Pharmacy (hereinafter

collectively referred to as “Defendants”) and allege the following:

                                        I. INTRODUCTION

       1.      This is an action for damages and civil penalties on behalf of the United States of

America and the States (collectively referenced as the “Plaintiffs”), through the Relators, arising

from the Defendants’ violations of the Federal False Claims Act (“FCA”), 31 U.S.C. § 3729, et

seq., as amended, and analogous false claims acts and health care fraud remedial statutes of the

Plaintiff States as referenced below.

       2.      Relators also seek to recover on behalf of the twelve Plaintiff States which have

enacted a false claims act or similar health care fraud remedial statute analogous to the federal

False Claims Act, imposing liability upon violators for defined conduct in the nature of fraud,

such as the submission of false claims, the use of false records and documents, and the failure to

disclose material information, in presenting claims to that sovereign’s Medicaid program. The

conduct of Defendants alleged in this complaint violated those statutes, as well as the federal

False Claims Act. The pertinent statutes of the Plaintiff States upon which Relators seek to

recover are as follows:




                                                 2
       3:11-cv-03290-RM-TSH # 33            Page 3 of 61



                   a. California False Claims Act, CAL. GOV’T. CODE § 12650, et seq.;

                   b. Delaware False Claims and Reporting Act, DEL. CODE ANN. tit. 6, § 1201

                       et seq.;

                   c. Illinois False Claims Act, 740 ILL. COMP. STAT. 175/1, et seq.

                   d. Indiana False Claims and Whistleblower Protection Act, IC §5-11-5.5;

                   e. Massachusetts False Claims Act, M.G.L.A. Chap. 12, §5A, et seq.;

                   f. Minnesota False Claims Act, MINN. STAT. § 15C.01, et seq.;

                   g. Montana False Claims Act, MONT. CODE. ANN. § 17-8-401, et seq.

                   h. Nevada False Claims Act, NEV. REV. STAT. § 357.010, et seq.

                   i. New Jersey False Claims Act, §2A:32C-1, et seq.;

                   j. North Carolina False Claims Act, N.C. STAT. ART. 51 §§1-605 et seq.;

                   k. Rhode Island False Claims Act, R.I. GEN LAWS§ 9-1.1-1, et seq.

                   l. Virginia Fraud Against Taxpayers Act, VA. CODE ANN. § 8.01-216.1, et

                       seq.;

       3.      Defendants also conduct or have conducted business in the states of Idaho, Iowa,

Maine, Maryland, Missouri, New Hampshire, Oregon, Pennsylvania, Utah, Vermont,

Washington, and Wyoming and submit false claims to the Medicaid programs of those respective

states or areas through the use of false records and documents, and by failing to disclose material

information in presenting their claims. Relators do not seek to recover under an enacted false

claims act or similar health care fraud remedial statute for these states, but because Medicaid is a

program jointly funded by the United States and each state, each false claim submitted by the

Defendants in each of those states is a false claim against the United States for the federal share

of the claimed amount, in violation of the False Claims Act, 31 U.S.C. § 3729, et seq.




                                                 3
       3:11-cv-03290-RM-TSH # 33             Page 4 of 61



       4.      Defendants’ unlawful acts in violation of the federal and state FCAs, as alleged

below, concern their submission of false claims to federal and state health care programs for

prescription drugs furnished to program beneficiaries, and their use of materially false records

and statements in support of those false claims. More specifically, Defendants have knowingly

submitted fraudulent, inflated pricing information to government health care programs on tens of

thousands of prescription drug reimbursement claims, for the purpose of unlawfully obtaining

reimbursement payments higher than those authorized by law.

                                          II. PARTIES

A. Defendant

       5.      SuperValu, Inc. operates or controls or has operated and controlled at various

relevant time periods many different branded pharmacies, both individually and through its

subsidiaries, affiliates, and related organizations, including but not limited to, SuperValu,

SuperValu Pharmacies, Albertsons, Acme Sav-On Pharmacy, Albertsons Osco Pharmacy,

Albertsons Sav-On Pharmacy, Bigg’s Pharmacy, Cub Pharmacy, Farm Fresh Pharmacy, Jewel

Pharmacy, Jewel-Osco Pharmacy, Lucky Pharmacy, Mays Pharmacy, Save-A-Lot, Shaw’s Osco

Pharmacy, Shop N’ Save Pharmacy, Shop N’ Save Osco Pharmacy, Shoppers Pharmacy, Scott’s

Pharmacies, Star Osco Pharmacy, and Osco Drug.

       6.      SuperValu, Inc. is a Delaware corporation with its principal place of business in

Eden Prairie, Minnesota that operates or controls or has operated and controlled at various

relevant time periods approximately 2,500 retail grocery locations and over 800 pharmacies in

twenty-five (25) states within the United States, which include:

               a. California

               b. Delaware




                                                  4
3:11-cv-03290-RM-TSH # 33   Page 5 of 61



     c. Idaho

     d. Illinois

     e. Indiana

     f. Iowa

     g. Maine

     h. Maryland

     i. Massachusetts

     j. Minnesota

     k.   Missouri

     l. Montana

     m. Nevada

     n. New Hampshire

     o. New Jersey

     p. North Carolina

     q. Oregon

     r. Pennsylvania

     s. Rhode Island

     t. Utah

     u. Vermont

     v. Virginia

     w. Washington

     x. Wisconsin

     y. Wyoming




                               5
       3:11-cv-03290-RM-TSH # 33           Page 6 of 61



       7.     SuperValu Holdings, Inc., is a Missouri corporation with its principal place of

business in Eden Prairie, Minnesota, wholly owned by Supervalu, that operates or controls or has

operated and controlled at various relevant time periods, Shop ‘N Save branded pharmacies in

Missouri, and Cub Foods pharmacies in Illinois.

       8.     FF Acquisitions, LLC, is a Virginia limited liability company with its principal

place of business in Virginia Beach, Virginia wholly owned by Supervalu that operates or

controls or has operated and controlled at various relevant time periods, Farm Fresh branded

pharmacies in North Carolina, Virginia, and North Dakota.

       9.     Foodarama LLC, is a Delaware limited liability company with its principal place

of business in Baltimore, Maryland wholly owned by Supervalu, that operates or controls or has

operated and controlled at various relevant time periods, Shoppers branded pharmacies in

Virginia and Maryland.

       10.    Shoppers Food Warehouse Corp., is a Ohio corporation with its principal place of

business in Lanham, Maryland wholly owned by Supervalu, that operates or controls or has

operated and controlled at various relevant time periods, Shoppers pharmacies in Virginia and

Maryland.

       11.    SuperValu Pharmacies, Inc., is a Minnesota corporation with its principal place of

business in Eden Prairie, Minnesota wholly owned by Supervalu, that operates or controls or has

operated and controlled at various relevant time periods numerous pharmacies in seven (7) states

within the United States, which include:

              a. Illinois

              b. Indiana

              c. Kentucky




                                               6
       3:11-cv-03290-RM-TSH # 33            Page 7 of 61



               d. Minnesota

               e. Missouri

               f. Ohio

               g. Wisconsin

       12.     Supervalu Pharmacies, Inc., operates or controls or has operated and controlled at

various relevant time periods, many different branded pharmacies, including but not limited to,

Bigg’s Pharmacy, Cub pharmacy, Osco Pharmacy, Scott’s Pharmacy, and Shop ‘N Save

pharmacy.

       13.     Albertson’s, LLC, is a Delaware limited liability company with its principal place

of business in Boise, Idaho that operates or controls or has operated and controlled at various

relevant time periods approximately 2,200 retail locations and over 600 pharmacies in sixteen

(16) states within the United States, which include:

               a. California

               b. Idaho

               c. Montana

               d. Nevada

               e. Oregon

               f. Utah

               g. Washington

               h. Wisconsin

               i. Wyoming

       14.     Albertson’s LLC, operates or controls or has operated and controlled at various

relevant time periods, Jewel-Osco, Albertson’s Sav-On, Osco and Sav-On branded pharmacies.




                                                 7
       3:11-cv-03290-RM-TSH # 33             Page 8 of 61



       15.     Jewel Osco Southwest LLC, is an Illinois limited liability company with its

principal place of business in Boise, Idaho, that operates or controls or has operated and

controlled at various relevant time periods, Jewel Osco stores in Illinois.

       16.     New Albertson’s, Inc., is an Ohio corporation with its principal place of business

in Boise, Idaho.

       17.     New Albertson’s, Inc., operates or controls or has operated and controlled at

various relevant time periods approximately 2,200 retail locations and over 600 pharmacies in

sixteen (16) states within the United States, which include:

                   a. Delaware

                   b. Illinois

                   c. Indiana

                   d. Iowa

                   e. Maine

                   f. Maryland

                   g. Massachusetts

                   h. New Hampshire

                   i. New Jersey

                   j. Pennsylvania

                   k. Rhode Island

                   l. Vermont

                   m. Wisconsin

       18.     New Albertson’s, Inc., operates or controls or has operated and controlled at

various relevant time periods many different branded pharmacies, both individually and through




                                                 8
        3:11-cv-03290-RM-TSH # 33             Page 9 of 61



its subsidiaries, affiliates, and related organizations, including but not limited to, Albertson’s

Sav-On, Jewel-Osco, Acme Sav-On, Shaws, Osco Drug, Star Markets, Osco and Sav-On in-store

pharmacies.

       19.      American Drug Stores, LLC, is a Delaware corporation with its principal place of

business in Wilmington, Delaware, that operates or controls or has operated and controlled at

various relevant time periods, Osco Drug branded pharmacies in Iowa, Illinois, and Indiana.

       20.      Acme Markets, Inc., is a Delaware corporation with its principal place of business

in Malvern, Pennsylvania, that operates or controls or has operated and controlled at various

relevant time periods, Acme Sav-On branded pharmacies in New Jersey, Maryland, Delaware,

Pennsylvania.

       21.      Shaw’s Supermarket, Inc., is a Massachusetts corporation with its principal place

of business in Itasca, Illinois, wholly owned by Supervalu, that operates or controls or has

operated and controlled at various relevant time periods, Shaw Osco branded pharmacies in

Massachusetts, Maine, New Hampshire, Rhode Island, and Vermont.

       22.      Star Market Company, Inc., is a Massachusetts corporation with its principal

place of business in Itasca, Illinois wholly owned by Supervalu, that operates or controls or has

operated and controlled at various relevant time periods, Star Osco branded pharmacies in

Massachusetts.

       23.      Jewel Food Stores, Inc., is an Ohio corporation with its principal place of business

in Itasca, Illinois, that operates or controls or has operated and controlled at various relevant time

periods, Jewel Food Store with Osco branded pharmacies in Iowa, Illinois and Indiana.

       24.      AB Acquisition LLC is a Delaware limited liability company with its principal

place of business in Boise, Idaho ("AB"). On March 21, 2013 Supervalu sold New Albertson's,




                                                  9
       3:11-cv-03290-RM-TSH # 33             Page 10 of 61



Inc. to AB in a stock sale through which AB acquired certain SuperValu pharmacies that are the

subject of this action.

        25.     All of Defendants’ pharmacies are integrated into a shared centralized ARx

pharmacy transaction software information system, which enables their customers to fill or refill

prescriptions in any of their stores throughout the country under common SuperValu billing

policies and procedures.

        26.     Defendants' pharmacies are managed and controlled by Supervalu, which directs

all billing policies and practices, marketing, and price matching as illustrated by corporate

instructions disseminated to "All Supervalu Pharmacists" regarding price matching procedures.

        B. Relators

        27.     Relator Schutte is a citizen of the United States and a resident of the State of

Missouri. Relator Schutte graduated from St. Louis College of Pharmacy in 1992 and has

worked as a pharmacist since June of 1992.

        28.     Relator Schutte has worked as a pharmacist for Wal-Mart from June of 1992

through the present.

        29.     Relator Schutte worked as a pharmacist for SuperValu for a short period of time

beginning in April of 2011. As a former pharmacist for SuperValu, Relator Schutte has direct,

personal, and independent knowledge of the facts underlying the allegations of this Complaint.

        30.     Relator Michael Yarberry is a citizen of the United States and a resident of the

State of Kentucky. Relator Yarberry graduated from St. Louis College of Pharmacy in 1992 and

has subsequently worked as a pharmacist in the retail pharmacy industry since 1992. Relator has

knowledge of, and experience in, the retail pharmacy industry gained from his many years

working as a pharmacist.




                                                 10
       3:11-cv-03290-RM-TSH # 33               Page 11 of 61



                                III. JURISDICTION AND VENUE

        31.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1345 and 31 U.S.C. § 3730 (b). This court has personal jurisdiction over the

Defendant pursuant to 31 U.S.C. § 3732(a). This court also has supplemental jurisdiction over the

state law claims under 31 U.S.C. § 3732(b) and 28 U.S.C. § 1367.

        32.     Venue in this Judicial District is appropriate under 31 U.S.C. § 3732(a) because at

least one of the Defendants transacts business in this Judicial District.

        33.     Relators believe there has been no public disclosure of the allegations and

transactions on which this action is based; but should the question arise, and should the court

determine otherwise, the Relators are original sources of the information on which the allegations in

this complaint are based, as defined in 31 U.S.C. §3730(e)(4)(B).

        34.     To the extent, if any, that this case is deemed to be a related action and that facts set

forth herein are deemed to be the same as facts underlying an existing qui tam FCA action pending

at the time of filing of this action, as prohibited in 31 U.S.C. § 3730(b)(5), said factual allegations in

common with either pending action, which would cause this to be a related cause of action, are

hereby expressly excluded from this action, but only to the limited extent necessary to exclude such

preemption.

        35.     Furthermore, to the extent that the court finds that the allegations or transactions set

forth herein are based upon allegations or transactions which are the subject of a federal civil suit or

an administrative civil money penalty proceeding in which the United States is already a party, if

any such proceedings exist, and the Government does not oppose the dismissal, then the allegations

or transactions referred to herein that the court deems are based upon allegations or transactions

which are the subject of any such civil suit or administrative civil money penalty proceeding are




                                                   11
        3:11-cv-03290-RM-TSH # 33               Page 12 of 61



expressly excluded, but only for the specific time periods, specific companies, and specific

allegations or transactions as necessary and only for those allegations for which the Court

determines Relators are not original sources.

      IV. GENERAL BACKGROUND INFORMATION CONCERNING GOVERNMENT-
                    FUNDED PRESCRIPTION DRUG BENEFITS

        36.    Federal and state government health care programs (“GHP” in the singular form and

“GHPs” in the plural form), including Medicare, Medicaid, TRICARE (including "CHAMPUS,"

the Civilian Health and Medical Program of the Uniformed Services), and the Federal Employees

Health Benefits Program (“FEHBP”), among others, offer pharmaceutical benefits to their

respective beneficiaries. These programs do not buy drugs; instead, they reimburse providers who

dispense covered drugs to program beneficiaries.

        A.         Overview of GHP Prescription Drug Reimbursement Methodologies

        37.     Many GHPs that reimburse providers such as Defendants for prescriptions

dispensed to program beneficiaries pay an amount for each covered drug that is limited to the lesser

of:

                a. the pharmacy provider’s usual and customary (“U&C”) price or charge; or

                b. one or more alternative price types (“APT” in the singular, and “APTs” in
                   the plural, form).

        38.    Common GHP U&C price/charge definitions are as follows:

                a. the cash price including all applicable customer discounts, coupons or sale
                   price which a cash paying customer would pay at the pharmacy;

                b. the lowest price the provider would charge the patient if the patient were
                   paying cash, including any applicable discounts offered to attract patients;

                c. the price charged in a cash transaction, including any discounts and
                   promotions; and




                                                   12
       3:11-cv-03290-RM-TSH # 33            Page 13 of 61



                d. the U&C charges to the “general public,” where “general public” is defined,
                   particularly by different State Medicaid programs, in a variety of ways,
                   including the cash price to the general public and including discounts offered
                   to customers at the point of sale.

       39.     Examples of APTs included in GHP reimbursement methodologies, which are

used as the basis for reimbursement when an APT is lower than the pharmacy’s reported U&C

price, are as follows:

                a. Estimated Acquisition Cost (“EAC”), plus Dispensing Fee. EAC is a
                   State Medicaid agency’s estimate, calculated according to the
                   agency’s established rules and regulations, of the price generally and
                   currently paid by providers, e.g., pharmacies, for a drug marketed or
                   sold by a particular manufacturer or labeler;

                b. Federal Upper Limit (“FUL”), plus Dispensing Fee. Federal Medicaid
                   regulations establish an upper limit on the amount State Medicaid
                   programs may pay for certain multiple-source drugs, that is, a brand
                   name drug available in generic form or under a different brand name;
                   or

                c. Maximum Allowable Cost (“MAC”), plus Dispensing Fee. State
                   Medicaid agencies also had and have the discretion to establish State
                   upper limits on drugs.

       40.     APTs consist of two components. The first component such as EAC, MAC, or

FUL, is intended to reimburse the pharmacy for the ingredient cost of a drug. The second

component, the dispensing fee, is intended to reimburse the pharmacy for pharmacy operation

costs, including, but not limited to, costs associated with a pharmacist’s time in checking the

computer for information about an individual’s coverage, performing drug utilization review and

preferred drug list review activities, measuring or mixing the covered outpatient drug, filling the

container, counseling the beneficiary, and physically providing the completed prescription to the

Medicaid beneficiary, as well as costs of delivery and special packaging, and overhead costs

associated with maintaining the facility and equipment necessary to operate the pharmacy.




                                                13
       3:11-cv-03290-RM-TSH # 33            Page 14 of 61



       41.       With respect to GHPs with reimbursement methodologies that provide for the

payment of the lesser of U&C price or an APT, the GHP compares the provider’s submitted

U&C price with no dispensing fee against the APTs, each APT consisting of both the ingredient

cost and a dispensing fee and reimburses the provider the lessor of the provider’s U&C or APT.

       42.       When a pharmacy submits a prescription drug claim to a GHP that has a

reimbursement methodology which provides for the payment of the lesser of U&C price or an

APT, the pharmacy has a legal duty to accurately determine and report its U&C price for the

drug, based on the particular GHP's U&C price definition. Truthful determination and reporting

of the U&C price is a material component of the GHP’s payment calculation in these

circumstances.

       B. Specific GHP Prescription Drug Methodologies Illustrating the Established, Well-
          Known Understanding and Application of U&C Price

                 1. Medicaid

       43.       Medicaid is a joint and voluntary program between the federal government and

the states, whereby lower-income, disabled and elderly individuals are offered basic healthcare

coverage, including prescription drug benefits.

       44.       The Federal government pays a share of the medical assistance expenditures

under each state's Medicaid program. That share, known as the Federal Medical Assistance

Percentage (“FMAP”) or the Federal Financial Participation (“FFP”), is determined annually by

a formula that compares the State's average per capita income level with the national income

average. States with a higher per capita income level are reimbursed a smaller share of their

costs. By law, the FMAP cannot be lower than 50 percent or higher than 83 percent.

       45.       Since at least 1976, the Medicaid rules have divided reimbursable drugs into two

categories; i) multiple source drugs subject to a FUL, and ii) other drugs. Multiple source drugs



                                                  14
       3:11-cv-03290-RM-TSH # 33            Page 15 of 61



have been subjected to a FUL when there are multiple equivalent drugs and suppliers. “Other

drugs” include single-source drugs, certified brand drugs (which requires the physician to certify

the medical necessity for use of brand name drugs), and drugs other than multiple source drugs

for which a FUL has not been established.

       46.     During the same time period, Medicaid rules have provided that State agency

payments for other drugs must not exceed, in the aggregate, payment levels the agency has

determined by applying the lower of the following costs and charges:

               a.     EAC plus a reasonable dispensing fee established by the agency; or

               b.     The provider’s usual and customary charges to the general public.

       47.     The FUL is just that, an upper limit, and the State agency will pay the EAC plus a

dispensing fee or the U&C price of a multi-source drug, if it is lower than the FUL.

       48.     Accordingly, the Medicaid reimbursement methodology for all covered drugs can

be summarized to provide for the payment of the lesser of the following costs, charges, or limits:

               a.     The provider's usual and customary charge to the general public;

               b.     EAC plus a reasonable dispensing fee established by the State agency;

               c.     State MAC, if any, plus a reasonable dispensing fee; or

               d.     FUL, if any, plus a reasonable dispensing fee.

       49.     Individual State Medicaid programs define U&C charge to the general public in a

variety of ways, including, for example, the cash price to the general public, including any

applicable discounts offered to attract patients; the average charge to all other customers; the

lowest price routinely offered to any segment of the general public; the charges on all non-

Medicaid prescriptions; charges to the patient group accounting for the largest number of non-

Medicaid prescriptions from the individual pharmacy, excluding patients who purchase through a




                                                15
       3:11-cv-03290-RM-TSH # 33             Page 16 of 61



third party payer; the provider’s usual and customary charge, undefined; and charges to the

general public, undefined.     In all cases, pharmacy providers have a legal material duty to

accurately determine and report their true U&C prices according to the applicable Medicaid

reimbursement methodology when submitting claims to a particular Medicaid program for

payment.

               2. TRICARE

       50.     TRICARE is the managed health care program established by the Department of

Defense (“DoD”) for active duty service members, active duty family members, retired service

members and families, and certain other eligible beneficiaries.

       51.     Since June 1, 2004 to the present, Pharmacy Benefit Manager (“PBM”) Express

Scripts has operated the TriCare Retail Pharmacy contract for all TRICARE beneficiaries located

in the 50 States, the District of Columbia, Puerto Rico, the U.S. Virgin Islands and Guam, except

for beneficiaries enrolled in one particular plan which is not material to this action.

       52.     Pursuant to the 2005 Express-Scripts pharmacy manual, Express Scripts’

TRICARE reimbursement methodology was based on the lower of:

               a.      Average Wholesale Price (“AWP”) less the contracted discount
                       baseline price (as calculated by First DataBank1), less the
                       contracted discount for the specific network; or,

               b.      MAC or submitted cost plus the contracted dispensing fee for that
                       network, or U&C, whichever is lowest.

       53.     The 2005 Express-Scripts pharmacy manual defined “Usual and Customary Retail

Price (U&C)” as “[t]he usual and customary retail price of a Covered Medication in a cash

1
  First Data Bank (“FDB”) provides integrated drug database products and is one of several commercial
drug pricing compendia which compile and publish benchmark prices suggested by drug manufacturers
for their products.




                                                 16
       3:11-cv-03290-RM-TSH # 33          Page 17 of 61



transaction at the Pharmacy dispensing the Covered Medication (in the quantity dispensed) on the

date that it is dispensed, including any discounts or special promotions offered on such date.”

(Emphasis added).

       54.    Pursuant to the 2013 Express-Scripts pharmacy manual, Express Scripts’ TRICARE

reimbursement is based on the following methodologies:

              a.      For Single-Source Brand Drugs, reimbursement is the lesser of:
                       i.    AWP ingredient cost minus contracted brand discount plus
                             contracted brand dispensing fee for the applicable network;
                             OR
                      ii.    Network Provider submitted brand ingredient cost plus
                             contracted brand dispensing fee; OR
                     iii.    Usual and Customary Retail Price; OR
                     iv.     If applicable, specific Sponsor reimbursement; OR
                      v.     State Fee Schedule (e.g., Workers' Compensation)

              b.      For Generic Drugs or Multi-Source Brand Drugs,
                      reimbursement is the lesser of:
                       i.    AWP Generic Drugs or Multi-Source Brand Drugs
                             ingredient cost minus contracted Generic Drug discount
                             plus contracted Generic Drug dispensing fee for the
                             applicable network; OR
                      ii.    MAC discount plus contracted Generic Drug dispensing fee
                             for applicable network; OR
                     iii.    Network Provider-submitted ingredient cost plus contracted
                             Generic Drug dispensing fee for applicable network; OR
                     iv.     Usual and Customary Retail Price; OR
                      v.     If applicable, special Sponsor reimbursement logic; OR
                     vi.     State Fee Schedule (e.g., Workers' Compensation).

       55.    The 2013 Express-Scripts pharmacy manual defines “Usual and Customary Retail

Price (U&C)” as follows:

              To the extent no [sic] defined in the Provider Agreement, Usual
              and Customary Retail Price means the usual and customary retail
              price of a Covered Medication in a cash transaction at the
              Pharmacy dispensing the Covered Medication (in the quantity
              dispensed) on the date that it is dispensed, inclusive of 'loss
              leaders', frequent shopper or special customer discounts or
              programs, competitor's matched price or any and all other
              discounts, special promotions, and programs causing a reduction in



                                              17
       3:11-cv-03290-RM-TSH # 33           Page 18 of 61



               the price offered to that Member and offered by the Network
               Provider (or any of its Pharmacies) on such date. Additionally, the
               Usual and Customary Retail Price must include any applicable
               discounts offered to attract customers including Members.

(Emphasis added).

       3. FEHBP

       56.     The Federal Employees Health Benefits Program (“FEHBP”) offers comprehensive

group health insurance to federal employees, retirees and their eligible family members through a

wide variety of qualified carriers and plans approved by the U.S. Office of Personnel Management

(“OPM”).

       57.     Since at least 2006, FEHBP plans have been PBM Caremark’s largest customers

(the reference to “Caremark” includes its successor “CVS/Caremark”). The majority of FEHBP

claims are processed by Caremark.

       58.     Pursuant to the Caremark 2007 and 2009 manuals, FEHBP prescription drugs

provided to its members have been reimbursed at the lower of:

               a.     Price Type plus or minus the applicable percentage of the Price
                      Type, plus the applicable Dispensing Fee, less the applicable
                      Patient Pay Amount (or if applicable Price Type is unavailable
                      for a given drug, Caremark will pay Provider based upon AWP
                      minus the applicable AWP Discount, plus the applicable
                      Dispensing Fee, minus the applicable Patient Pay Amount);

               b.     MAC plus the applicable Dispensing Fee, less the applicable
                      Patient Pay Amount;

               c.     Ingredient cost submitted by Provider, plus the applicable
                      Dispensing Fee, less the applicable Patient Pay Amount; or,

               d.     Provider’s U&C price less the applicable Patient Pay Amount.

       59.     The 2007 and 2009 manuals define “Usual and Customary Price or U&C” as “the

lowest price Provider would charge a particular patient if such patient were paying cash for an




                                               18
         3:11-cv-03290-RM-TSH # 33           Page 19 of 61



identical prescription on that particular day at that particular location. This price must include any

applicable discounts offered to attract patients.” (Emphasis added).

         4.    Medicare Part D Voluntary Prescription Drug Benefit Program

         60.   The     voluntary     prescription        drug   benefit   program     for    Medicare

enrollees/beneficiaries is known as Medicare Part D (“Part D”). Part D was enacted into law on

December 8, 2003 and became available to beneficiaries beginning on January 1, 2006.

         61.   Unlike Medicaid, TRICARE and FEHBP, coverage for the Part D drug benefit is

provided under private prescription drug plans (“PDP” in the singular, and “PDPs” in the plural,

form).    Medicare contracts with private entities, known as PDP "sponsors," to administer

prescription drug plans. PDP sponsors do not necessarily utilize the lesser of U&C or APT

reimbursement methodology previously discussed, but the substance of the Part D benefit design

reimbursement methodology is the same.

         62.   CMS regulations require that PDP sponsors provide beneficiaries with access to the

PDP sponsors’ “Negotiated Prices” for covered Part D drugs as part of their qualified prescription

drug coverage. Medicare Prescription Drug Benefit Manual (Benefits and Beneficiary Protections)

Ch. 5., Sec. 20.6 (Negotiated Prices).

         63.   Negotiated Prices are prices for covered Part D drugs that: (1) the Part D sponsor (or

other intermediary contracting organization) and the network dispensing pharmacy or other network

dispensing provider have negotiated as the amount such network entity will receive, in total, for a

particular drug; (2) are reduced by those discounts, direct or indirect subsidies, rebates, other price

concessions, and direct or indirect remuneration that the Part D sponsor has elected to pass through

to Part D enrollees at the point of sale; and (3) includes any dispensing fees. 42 CFR § 423.100.

         64.   Access to Negotiated Prices must be provided to Medicare beneficiaries even when




                                                    19
           3:11-cv-03290-RM-TSH # 33         Page 20 of 61



no benefits are otherwise payable on behalf of a beneficiary due to the application of a deductible or

other cost-sharing.

           65.   Under Part D PDP sponsor plans, if a pharmacy provider’s U&C price for a specific

drug is less than a PDP sponsor’s Negotiated Price, the PDP Plan considers the discounted U&C

price to take the place of the Negotiated Price. By way of example, assume the Negotiated Price of a

drug is $10 with a beneficiary co-pay of 25%. If the pharmacy provider offers the same drug for $4,

the PDP sponsor considers the $4 to take the place of the $10 Negotiated Price. The PDP sponsor

will adjudicate the claim for $4 and the beneficiary will pay only a $1 co-pay rather than a $2.50 co-

pay. Consequently, Medicare, the PDP and the beneficiary benefit from the pharmacy provider’s

discounted U&C price under the Medicare Negotiated Price regulations.

           66.   A failure to offer Medicare beneficiaries Negotiated Prices is a violation of CMS

Part D regulations and occurs when a pharmacy provider charges a beneficiary the wrong amount,

such as failing to offer Medicare beneficiaries available discounts or price concessions at the point

of sale.

           67.   When a pharmacy provider - such as one of Defendants’ pharmacies - dispenses

drugs to a Medicare beneficiary, the pharmacy submits an electronic claim to the beneficiary's PDP

sponsor or PBM and receives reimbursement from the PDP sponsor or PBM for costs not paid by

the beneficiary (co-payment).

           68.   CMS payments to PDP sponsors are conditioned on the provision of information to

CMS that is necessary for CMS to administer the Part D program. The PDP sponsor must submit a

summary record called the prescription drug event (PDE) to CMS. The PDE record includes data

elements about the drug dispensed, the prescription and information about the payment to the

pharmacy.




                                                 20
       3:11-cv-03290-RM-TSH # 33            Page 21 of 61



       69.     Throughout the year, CMS makes prospective payments to PDP sponsors for three

subsidies based on the sponsors' approved bids: (1) the direct subsidy designed to cover the

sponsors’ costs of providing the benefits; (2) the low-income cost-sharing subsidy; and (3) the

reinsurance subsidy.

       70.     CMS uses submitted PDE data to reconcile monthly subsidy payments made to PDP

sponsors with actual program cost data.

       71.     After the close of the plan year, CMS is responsible for reconciling the prospective

payments to the PDP sponsors’ actual allowable costs to calculate final payments and risk sharing

amounts.

       72.     PDP sponsors who fail to submit accurate claims-level information contained in the

PDE to CMS risk having to return monthly payments to CMS during reconciliation.

       73.     The current Part D benefit infrastructure however, does not provide CMS real

time access to Part D point-of-sale and plan data to determine: i) whether PDE records submitted

by PDP sponsors are accurate; or ii) whether pharmacy provider claims were adjudicated in

accordance with the PDP sponsors’ plan design, including whether the beneficiary was offered

the benefit of an available discount to the general public at the point of sale. So CMS may not

detect inaccurate PDE records or instances where sponsors are adjudicating claims inaccurately,

and in particular here, whether the provider offered and adjudicated the claim considering the

provider’s U&C discount price. CMS is dependent on PDP sponsors and their pharmacy

providers to adjudicate claims accurately according to PDP sponsors’ plan designs and to

provide CMS accurate and valid PDE data.

       74.     Defendants, as subcontractor providers for PDP sponsors, are required to comply

with all applicable federal laws, regulations and CMS instructions, which includes the obligation to




                                                21
       3:11-cv-03290-RM-TSH # 33             Page 22 of 61



offer Medicare beneficiaries available discounts or price concessions to Negotiated Prices at the

point of sale. Moreover, PDP sponsors are obligated by federal regulation to certify the accuracy,

completeness and truthfulness of all data related to payment:

                (1) General Rule. As a condition for receiving a monthly payment ... the Part D
        plan sponsor agrees that its chief executive officer (CEO), chief financial officer (CFO),
        or an individual delegated the authority to sign on behalf of one of these officers, and
        who reports directly to the officer, must request payment under the contract on a
        document that certifies (based on best knowledge, information and belief) the accuracy,
        completeness, and truthfulness of all data related to payment. The data may include
        specified enrollment information, claims data, bid submission data, and other data that
        CMS specifies.
                ...
                (3) Part D Sponsor Certification of Claims Data: The CEO, CFO, or an
        individual delegated with the authority to sign on behalf of one of these officers, and
        who reports directly to the officer, must certify (Based on best knowledge, information
        and belief) that the claims data it submits under § 423.329(b)(3) (or for fallback entities,
        under § 423.871(f)) are accurate, complete and truthful and acknowledge that the claims
        data will be used for the purpose of obtaining Federal reimbursement.

42 C.F.R. § 423.505(k)(1) & (3).

       75.     The "Certification of data that determines payments" provision of the applicable

regulation further provides that "[i]f the claims data are generated by a related entity, contractor,

or subcontractor of a Part D plan sponsor, the entity, contractor, or subcontractor must similarly

certify (based on best knowledge, information, and belief) the accuracy, completeness, and

truthfulness of the data and acknowledge that the claims data will be used for the purposes of

obtaining Federal reimbursement." 42 C.F.R. § 423.505(k)(3).

       76.     By failing to offer Medicare beneficiaries Negotiated Prices reflecting point of

sale discounts and price concessions, Defendants submitted false requests for payment to PDP

sponsors with inflated Negotiated Prices. Accordingly, Defendants knowingly caused the PDP

sponsors to submit false and fraudulent claims for payment to CMS. That the PDP sponsors

filed the claims with CMS is irrelevant because liability attaches to any person who "causes to be




                                                 22
       3:11-cv-03290-RM-TSH # 33             Page 23 of 61



presented" a false or fraudulent claim. The Defendants knowingly "caused the claim" to be

presented by the PDP sponsors who then sought payment from the government and falsely

certified the accuracy of the information.

       V. Historical Perspective of Prescription Drug U&C Pricing and The Emergence of
          Pharmacy Discount Drug Programs

       77.     Historically, as today, GHP and private insurer drug reimbursement

methodologies typically have provided for the payment of the lower of U&C price or one or

more APTs.

       78.     Retail pharmacies, in response, traditionally set U&C prices to cash patients at

amounts far exceeding corresponding APT prices, in the absence of competitive pressures. This

is because the GHP and private insurer transactions generally outnumber sales to cash patients

and, as a consequence, setting U&C prices below the highest available APTs would result in

significant loss of revenue to a pharmacy.

       79.     For these reasons, pharmacies were rarely reimbursed by GHPs and private

insurers at the retail pharmacies’ historically high, everyday U&C prices to cash patients. Retail

pharmacies were virtually always reimbursed at the lesser APT reimbursement formula rates.

       80.     The historical U&C pricing model underwent a drastic, game-changing makeover

when, beginning in approximately May 2006, closely following the implementation of Medicare

Part D prescription drug coverage earlier that year, Kmart and Wal-Mart introduced and

popularized the first discount generic drug programs. Kmart initially offered 90-count supplies

of some 300 generic maintenance drugs at commonly prescribed dosages for $10, $15 or $25,

and 30 count supplies of select acute drugs for $5. By the late fall of 2006, Wal-Mart had

established a nationwide discount program that offered 30-count supplies of more than 300 drugs




                                                23
       3:11-cv-03290-RM-TSH # 33          Page 24 of 61



for $4. Before the end of the year, Kmart expanded its 30-count discount program to compete

with Wal-Mart.

       81.     By late 2006 or early 2007, many other pharmacy chains, including Kmart, Target

and Kroger, had instituted competitive discount drug programs. Most national pharmacy chains

now offer a formulary of 30-count drug supplies for approximately $4 and 90-count supplies for

approximately $10 or $15 or price match these programs.

       82.     In addition, many pharmacy chains also offer across the board percentage or other

discounts on non-formulary generics and select brand drugs.

       83.     Instead of having their own formulary or discount program, some pharmacy

chains such as Defendants’, simply match Wal-Mart’s or other competitors’ discount prices,

including their competitors’ percentage discounts on non-formulary generics and discounts on

select brand drugs.

       84.     As a result of the emergence of these discount drug programs, hundreds of

commonly prescribed drugs are now sold across the nation, every day, at deeply discounted

prices counter to the historical U&C pricing model and materially below the Part D Negotiated

Prices and APTs.

       85.     On claims submitted to GHPs, depending on the particular GHP reimbursement

methodology, a pharmacy is legally obligated to report its discount U&C prices and/or include

the discounts in the calculation of its U&C and Negotiated Prices for purposes of reimbursement.

       86.     Relator Schutte in his capacity as a Wal-Mart pharmacist has personal knowledge

that Wal-Mart has and does properly report and account for its everyday discount prices as its

U&C and Negotiated Prices to GHPs and their contractors and administrators, as applicable,




                                              24
       3:11-cv-03290-RM-TSH # 33            Page 25 of 61



thereby according GHPs the benefit of the same discounted prices on generic and brand drugs

extended to the general public as intended by GHP reimbursement rules.

       87.    This principle was clarified in an October 11, 2006 memorandum to all Part D

sponsors from the CMS Director of the Medicare Drug Benefit Group on the subject “Lower

Cash Price Policy” (October 2006 CMS Memo). The memo confirmed that everyday, discount

prices are considered a pharmacy’s Negotiated Prices under the Part D benefit design. In this

respect the memo stated as follows:

       We note that in cases where a pharmacy offers a lower price to its patients
       throughout a benefit year, this would not constitute a ‘lower cash price’ situation
       that is the subject of this guidance. For example, Wal-Mart recently introduced a
       program offering a reduced price for certain generics to its patients. The low
       Wal-Mart price on these specific generic drugs is considered Wal-Mart's ‘usual
       and customary' price, and is not considered a one-time ‘lower cash' price. Part D
       sponsors consider this lower amount to be ‘usual and customary' and will
       reimburse Wal-Mart on the basis of this price. To illustrate, suppose a Plan's
       usual negotiated price for a specific drug is $10 with a beneficiary co-pay of
       25% for a generic drug. Suppose Wal-Mart offers the same generic drug
       throughout the benefit year for $4. The Plan considers the $4 to take the place of
       the $10 negotiated price. The $4 is not considered a lower cash price, because it
       is not a one-time special price. The Plan will adjudicate Wal-Mart's claim for $4
       and the beneficiary will pay only a $1 copay, rather than a $2.50 copay. This
       means that both the Plan and the beneficiary are benefitting from the Wal-Mart
       ‘usual and customary’ price, and the discounted Wal-Mart price of the drug is
       actually offered within the Plan’s Part D benefit design. Therefore, the
       beneficiary can access this discount at any point in the benefit year, the claim
       will be adjudicated through the Plan’s systems, and the beneficiary will not need
       to send documentation to the plan to have the lower cash price count toward the
       TrOOP.

       88.    Express Scripts (TriCare) and CVS/Caremark (FEHBP) reimbursement manuals

also require providers to include such discounts in their calculations of U&C price for purposes

of reimbursement under those GHPs

       89.    Some State Medicaid programs also issued guidance to providers affirming that

offered discounts under Wal-Mart styled discount programs were to be included in the provider’s




                                                 25
       3:11-cv-03290-RM-TSH # 33           Page 26 of 61



calculation of their U&C, further clarifying that State Medicaid programs were to receive the

same discounts offered to the general public.


                         VI. DEFENDANTS’ U&C PRICE FRAUD

       A. Summary Description of Unlawful Acts

       90.     Since at least 2007, and continuing through the present, Defendants have

knowingly and systematically defrauded GHPs by knowingly engaging in the pattern and

practice of disregarding and/or concealing the everyday, discounted prices offered the general

public through their price matching program when reporting and calculating their U&C and

Negotiated Prices for purposes of reimbursement from GHPs. As a consequence, Defendants

have presented, and continue to present, false and fraudulent claims to GHPs at inflated U&C

and Negotiated Prices to obtain larger amounts of reimbursement. Defendants were reimbursed,

and continue to be reimbursed by GHPs for certain pharmaceuticals at amounts that greatly

exceed their discounted U&C and Negotiated Prices.

       91.     Defendants’ claims for payment to GHPs for discount drugs furnished to GHP

beneficiaries were false because GHPs prescription drug reimbursement rules generally provide

for the payment of the lesser of a provider’s U&C price and one or more APTs or Negotiated

Prices. Defendants knowingly concealed and failed to report and utilize their true discount U&C

prices on GHP claims, which were materially lower than APTs and Negotiated Prices, in order to

obtain payments that were excessive under reimbursement rules.

       92.     GHPs paid Defendants’ false claims for generic and brand prescription drugs

furnished to GHP beneficiaries based on the false set of facts, i.e., that Defendants’ U&C prices

were higher than other applicable APTs and Negotiated Prices; and GHPs would not have

reimbursed such claims had they known the true state of facts.



                                                26
       3:11-cv-03290-RM-TSH # 33             Page 27 of 61



       93.       Defendants’ fraudulent scheme has caused, and continues to cause, GHPs to pay

Defendants significantly higher reimbursement amounts than Defendants were and are entitled to

receive under federal and state laws and regulations for prescriptions filled for GHP

beneficiaries.

       94.       Defendants have submitted thousands of false claims for prescriptions Defendants

filled for GHP beneficiaries through the shared centralized ARx pharmacy transaction software

information system, based on the number of pharmacies Defendants operate, the number of

drugs involved, the number of GHP prescription drug transactions at each pharmacy, and the

covered time period, which began no later than 2007 and is ongoing through the present.

       B.        Defendants’ Price Matching Discount Program

                 a. Fraudulent Usual and Customary Price Matching Scheme

       95.       Beginning on a limited basis in the latter part of 2006 and occurring nationwide in

early 2007 with the advent of competitor discount generic drug formularies and prices,

Defendants reduced their every-day, U&C prices to the general public to the discount generic

drug prices charged by its competitors by price matching.

       96.       At the same time, on claims for payment Defendants submitted to GHPs for the

same generic drugs it sold the general public at every-day discount prices, Defendants defrauded

the GHPs in one or more the following respects:

                 a.     knowingly and fraudulently failed to accurately report the actual,
                        every-day discount U&C prices they charged the general public for
                        the same drugs, and in instances where the computation of U&C
                        prices under applicable GHP rules required it to take into account
                        discount prices in calculating its U&C for purposes of
                        reimbursement, knowingly made no effort to include the discount
                        prices in its calculations of U&C prices; and




                                                 27
       3:11-cv-03290-RM-TSH # 33            Page 28 of 61



                b.      knowingly reported materially, and oftentimes grossly, inflated
                        U&C prices for the same drugs they sold to the general public at
                        deeply discounted prices.

        97.     Defendants’ knowing, fraudulent conduct misled and caused GHPs to pay

thousands of false claims based on APTs and Negotiated Prices materially higher than

Defendants’ actual discount U&C prices, in contravention of government mandated

reimbursement methodologies which dictate payment of the lessor of U&C prices or APTs/

Negotiated Prices, and to the damage of financially-strained government programs. This allowed

Defendants to maintain inflated revenue levels from GHPs and simultaneously compete for cash

customers with discount prices not offered to GHPs. Defendants reaped egregiously excessive

profits from GHPs and/or subsidized the general public’s discount prices at the expense of GHPs

to drive store traffic and profitability.

        98.     In the absence of competitive pressures, pharmacies have an economic incentive

to establish U&C prices higher than any health insurance APTs or Negotiated Prices, since GHP

and private insurer reimbursement methodologies typically pay the lessor of U&C prices or

APTs/Negotiated Prices. U&C prices below the highest APTs and Negotiated Prices result in a

pharmacy’s loss of available potential revenue. For this reason, the every-day, U&C prices

pharmacies historically have charged the general public (which are largely uninsured cash

customers) has been substantially higher than the prices charged to insured customers. This

practice continues today for drugs that are not on a discount formulary or part of a discount price

program.

        99.     In September 2006, Wal-Mart launched a discount generic prescription drug

program, which offered a 30-day supply of covered generic drugs for $4. The program was

initially offered in the Tampa Bay, Florida market, but was expanded two months later in




                                                28
       3:11-cv-03290-RM-TSH # 33            Page 29 of 61



November 2006 to all 3,800 Wal-Mart and affiliated Sam’s Club and Neighborhood Market

pharmacies nationwide in 49 states. Wal-Mart’s initial 30-day supply formulary consisted of

approximately 300 drugs at commonly prescribed dosages and was later expanded to include 90-

day prescriptions for $10.

       100.    Beginning on a limited basis in the latter part of 2006 and occurring nationwide in

early 2007, Defendants implemented their “Price Matching” program to compete with the 30-day

and 90-day supply, formulary-based, discount generic drug program offered by Wal-Mart and

similar, existing and anticipated programs of other competitors.

       101.    Defendants intentionally avoided creating their own proprietary discount drug

formulary and instead, through the Price Matching program, offered to match the discount prices

of drugs offered by their competitors. The objective behind this program design was to enable

Defendants to use discount drug pricing to compete for customer base and store traffic with the

general public, and at the same time deny that their discount prices were U&C prices for

purposes of GHP reimbursement.

       102.    Defendants customarily sold the 30-day and 60-day supplies of drugs on their

competitors’ generic programs to cash and certain insured customers for $4.00 or less and sold

90-day supplies of drugs for $10 or less.

       103.    As the pharmacy discount programs of its competitors evolved to include

percentage discounts on higher priced generics and select brand drugs, Defendants’ Price

Matching program was likewise extended to meet the competition.

       104.    The prices Defendants sold drugs to customers did not depend on an actual U&C

price offered the general public or calculated according to the requirements of a particular GHP,

but whether the customer was a cash customer or a customer utilizing insurance coverage




                                               29
         3:11-cv-03290-RM-TSH # 33         Page 30 of 61



without a co-payment or insurance coverage with a co-payment higher or lower than the discount

price.

         105.   Pharmacy staff generally obtained insurance and co-payment information from

the insurer or its benefits administrator when the staff member submitted a claim for adjudication

between the time the customer dropped off and picked up the prescription. Co-payments depend

on the particular benefits offered by the particular GHP. Some Medicaid programs do not

require any co-payments.

         106.   Insurance information was obtained from a customer by pharmacy staff on the

customer’s initial pharmacy visit. If the customer had insurance, the pharmacy staff member

entered the customer’s primary and any secondary payer information in the third party payer

section of Defendants’ shared centralized ARx pharmacy transaction software system, and on

subsequent visits, the customer’s designated, default primary payer coverage automatically

would be applied, unless manually changed or unless a claim was reversed after submission to

the insurer. The ARx software system’s programmed U&C prices were generally set at high

enough levels to exceed the APTs and Negotiated Prices, and did not reflect the discounts

offered the general public, so reimbursements were paid by insurance at the higher APT and

Negotiated Price reimbursement rates.

         107.   When a GHP beneficiary presented a prescription at a SuperValu pharmacy for a

drug where the GHP beneficiary’s co-payment out-of-pocket expense for a drug was less than its

competitor’s discounted price offered its customers, Defendants collected the co-payment and

submitted to the GHP its inflated U&C list price. As a result, GHPs were overcharged and

defrauded into paying Defendants based on the higher APTs and Negotiated Prices instead of

their discounted prices.




                                               30
       3:11-cv-03290-RM-TSH # 33             Page 31 of 61



       108.    Where the GHP beneficiary owed no co-payment or the co-payment out-of-pocket

expense for a drug was less than its competitor’s discounted price offered its customers, the GHP

beneficiary was generally unaware of the overcharge. However, had the GHP beneficiary been

offered the discount price, it would have reduced the obligation for those GHP beneficiaries that

owed a co-payment, as co-payments are often calculated as a percentage of the overall cost of the

drug. In addition, had the GHP beneficiary been offered the discount price, it would have

reduced the obligation of the GHP. At most, GHPs should have paid the difference between the

co-payment and the discount price, instead of, the difference between the co-payment and the

APT/Negotiated Price.

       109.    When a cash customer presented a prescription at one of Defendants’ pharmacies

for a drug on a competitor’s discount formulary or subject to another type of discount,

Defendants’ pharmacy staff member matched the discount price and manually typed the discount

price in the price override field of the Defendants’ shared centralized ARx pharmacy transaction

software system to override the inflated U&C list price programmed into the system, and filled

the prescription at the discount price as a “cash transaction”. If the customer was uninsured, no

payer information was entered into the system, and the initial and subsequent transactions were

processed as cash transactions, unless the customer’s uninsured status changed.         Since no

insurance was involved, there was no claim to submit for adjudication to any Third Party Payer.

On subsequent refills, the ARx system would alert the staff member to price-override the inflated

U&C list price on each prescription-refill in connection with said prescription and the staff

would substitute the discount price the customer paid for their initial prescription.

       110.    When a GHP beneficiary presented a prescription at one of Defendants’

pharmacies for a drug where the GHP beneficiary’s copayment out-of-pocket expense for a drug




                                                 31
       3:11-cv-03290-RM-TSH # 33            Page 32 of 61



was more than the discount price offered to cash customers, the pharmacy staff member

routinely manually overrode the inflated U&C list price and filled the prescription at the discount

price as a “cash transaction.” Customers that discovered they paid a copayment that exceeded a

price match discount could become angry or could demand an override at the discount price. For

this reason, pharmacy staff usually offered the customer the discount price if the copayment was

higher than the discount price situation. There were two common scenarios:

               a.     If the pharmacy staff member was familiar with, and knew the
                      discount price was less than the GHP copayment for the drug, the
                      staff member treated the transaction as a cash claim bypassing the
                      GHP beneficiary’s insurance. The staff member would (i) select
                      the price override tab, (ii) enter the competitor’s discount price
                      being matched, and (iii) manually type the discount price into the
                      price override field of the ARx software.

               b.     If the pharmacy staff member was not familiar with the GHP
                      copayment for the drug, the staff member would submit the claim
                      to the GHP for payment, but upon notification of a copayment
                      amount higher than the discount price the staff member would
                      follow steps (i) and (ii) in the foregoing subparagraph, and the
                      ARx system would automatically reverse the claim which had been
                      submitted to the GHP insurance. The claim would then be
                      reprocessed as a cash claim bypassing the GHP beneficiary’s
                      insurance.

       111.    In these instances, where Defendants gave the GHP beneficiary the benefit of the

cash discount by processing the claim as a cash transaction instead of through the beneficiary’s

GHP insurance, the GHP beneficiary was still harmed even though the beneficiary received the

discount price. Because the claim was processed as a cash transaction and not through the GHP

beneficiary’s insurance, the beneficiary did not get credit for the claim for purposes of tracking

the beneficiary’s fulfillment of program milestones that may affect benefits such as the TrOOP

(true out of pocket) costs as explained in the October 11, 2006 memorandum to all Part D

sponsors from the CMS Director of the Medicare Drug Benefit Group on the subject “Lower




                                                32
       3:11-cv-03290-RM-TSH # 33           Page 33 of 61



Cash Price Policy” (October 2006 CMS Memo). Both the GHP and the GHP beneficiary should

have received the benefit of the SuperValu discount prices on all transactions, and not be limited

to those transactions where the GHP beneficiary’s copayment exceeded the discount match price

offered the general public. Moreover, by processing discounted prices to GHP beneficiaries with

high copayments as "cash transactions" instead of processing the claims through GHP insurance,

a GHP beneficiary's health is put at risk as cash transactions are not included in all required

centralized patient databases allowing for Drug Utilization Reviews ("DUR"). 7

       112.    In some instances where a GHP beneficiary’s copayment was more than

Defendants’ discount price, Defendants nonetheless collected the higher copayment and also

submitted a false claim for payment to the GHP at the inflated U&C list price. The falsely

reported U&C list price misled the GHP to pay Defendants an additional amount above the

copayment, which itself exceed the discount price. In this situation, both the GHP and GHP

beneficiary were doubly defrauded and damaged. The beneficiary paid a copayment materially

greater than the discount price, and the GHP paid an additional amount on top of the copayment.

       113.    Under the rules of many GHPs, including Medicare Part D, many State Medicaid

Programs, TRICARE and FEHBP plans, Defendants’ price matching of their competitors’

discount prices to cash customers established the discount prices as its U&C and/or Negotiated

Prices for purposes of reimbursement. This gives the GHP beneficiary and the GHP the benefit

of the discount prices offered the general public. Defendants committed fraud by routinely

charging the government more than the general public for the same drugs.

               b. Supporting Information/Internal E-mails and other communications

       114.    On April 15, 2011, Relator Schutte completed a mandatory training session with

Bob Atchison, the clinical coordinator for SuperValu’s Shop N’ Save district and managing




                                               33
       3:11-cv-03290-RM-TSH # 33            Page 34 of 61



pharmacist at SuperValu’s Arnold, Missouri Shop N’ Save pharmacy. During the training

session, Mr. Atchison instructed Relator Schutte regarding the following:

               a.     When customers call the pharmacy to obtain a price quote on generic
                      pharmaceuticals, it is SuperValu’s policy that the pharmacy staff member
                      quote the discounted price (e.g. $4 or $10) if said pharmaceutical is listed
                      on one of SuperValu’s national competitors’ generic pharmaceutical
                      discount programs; and,

               b.     Once a customer has obtained a generic pharmaceutical for a discounted
                      price, it is SuperValu’s policy to utilize said discounted price for all refills
                      associated with the original prescription.

       115.    On May 27, 2011, Relator Schutte sent an email, attached hereto as Exhibit B, to

SuperValu’s Pharmacy Operations representative, Lindsay Reel, asking if, instead of reversing

transactions involving customers with third party insurance whose co-pay exceeds $4 and re-

running said transactions as cash for $4, he could submit the $4 SuperValu charges to cash

customers to third-party insurance carriers for certain generic pharmaceuticals.

       116.    On June 3, 2011, Ms. Reel called Relator Schutte in response to his email inquiry

and stated that SuperValu has established contracts with various pharmacy benefit managers

(PBMs) that prevent it from changing the amount SuperValu reports as its U&C price before a

claim is adjudicated. Ms. Reel explained to Relator Schutte that, in order for SuperValu to

change the amount it reports as its U&C price to third-party insurance to the $4 or less or $10 or

less it charges its cash customers, SuperValu would have to make an official price change like

Wal-Mart or Target who have established $4 and $10 generic drug programs. Finally, Ms. Reel

stated that, because SuperValu is unable to charge cash customers an amount lower than the

amount it submits as their U&C price to third-party insurance carriers, SuperValu “gets around”

this requirement by simply matching the reduced prices of its national competitors.




                                                34
        3:11-cv-03290-RM-TSH # 33             Page 35 of 61



        117.    On July 8, 2011, Relator Schutte and SuperValu’s Regional Manager of Managed

Care, Matt Cross, R.Ph., had a telephone conversation in connection with Relator Schutte’s July

4, 2011, email asking why SuperValu does not submit the amount it charges to cash customers to

third-party insurance carriers. Mr. Cross stated that Supervalu does not submit to third-party

insurance carriers the discounted prices it charges to customers, and indicated that SuperValu’s

ARx pharmacy software actually prevents pharmacy staff members from overriding the U&C

price submitted to third-party insurance carriers.

        118.    In addition to conversations, training, e-mails, and transactions evidencing the

scope of the fraud, Relators conducted numerous phone calls with pharmacy staff at Defendants'

branded pharmacies verifying Defendants' price matching and fraudulent billing scheme

occurred nationwide.

                                 (1). Comparative 30-day Examples

        119.    The following table summarizes and analyzes reasonably concurrent drug sales to

a cash customer and a Medicare Part D Plan member, and provides a clear example of

Defendant’s submission of a false claim to the GHP for more than the balance remaining unpaid

on the U&C price Defendants’ charged to cash customers, after crediting the plan members’ co-

payment:

                                     Medicare Part D Example

Prescription:            Pravastatin Sodium 40mg, 30-day supply

Pharmacy:                Shop N’ Save pharmacy, Arnold, Missouri

Drug Acquisition Cost:   $2.83

Cash Customer 1-A        $4.00    Actual U&C price paid by the cash customer, recorded by SuperValu as a co-
Date: 04/04/11                    payment

Part D Customer 1-B      $2.50    Co-payment paid by Part D beneficiary




                                                   35
        3:11-cv-03290-RM-TSH # 33               Page 36 of 61



Date: 04/04/11

                         $2       Inflated U&C price fraudulently reported by SuperValu for claim submission
                                  and adjudication

    (Part D              $13.67   Reimbursement amount paid by Medicare Part D
    Reimbursement)
                                  Total reimbursement received by SuperValu, comprised of the beneficiary co-
                         $16.17   payment and Medicare Part D reimbursement ($2.50 + $13.67)

Amount Medicare                   The difference between SuperValu’s actual U&C cash customer price and the
Should Have Paid         $1.50    beneficiary’s co-payment ($4.00 - $2.50)

                                  The difference between 1) the total reimbursement paid by Medicare Part D
Over payment             $12.17   and the amount Medicare should have paid ($13.67- $1.50), or 2) the total
                                  reimbursement SuperValu received less the actual U&C customer cash price
                                  ($16.17 - $4.00).

        120.     Redacted copies of screen shots printed from Defendants’ shared ARx system,

which pertain to and support the foregoing example are attached as Exhibit C.

        121.     The following table summarizes and analyzes reasonably concurrent drug sales to

a cash customer and a Medicaid beneficiary, and provides a clear example of Defendants’

submission of a false claim to the GHP for more than the balance remaining unpaid on the U&C

price Defendants charged to cash customers, after crediting the Medicaid beneficiary’s co-

payment:

                                     Illinois Medicaid Example

Prescription:            Metoprolol Tartrate 100mg, 30-day supply

Pharmacy:                Osco Pharmacy, Springfield, Illinois

Drug Acquisition Cost:   $1.62

Cash Customer 4-A        $4.00    Actual U&C price paid by the cash customer (price match), recorded by
Date: 06/09/11                    SuperValu as a co-payment

Medicaid Customer 4-B    $0.00    Co-payment paid by Medicaid beneficiary
Date: 06/14/11
                         $18.69   Inflated U&C price fraudulently reported by SuperValu for claim submission
                                  and adjudication


2
 The inflated U&C price fraudulently reported by SuperValu is indicated in Defendant’s ARx pharmacy
software.



                                                    36
        3:11-cv-03290-RM-TSH # 33               Page 37 of 61



    (Medicaid            $7.08     Reimbursement amount paid by Medicaid, presumed to include recorded
    Reimbursement)                 dispensing fee

                         $7.08     Total reimbursement received by SuperValu, comprised of the beneficiary co-
                                   payment and Medicaid reimbursement ($0.00 + $7.08)

Amount Medicaid          $4.00     The difference between SuperValu’s actual U&C cash customer price and the
Should Have Paid                   beneficiary’s co-payment ($4.00 - $0.00)

Over payment             $3.08     The difference between 1) the total reimbursement paid by Medicaid and the
                                   amount Medicaid should have paid ($7.08 - $4.00), or 1) the total
                                   reimbursement SuperValu received less the actual U&C cash customer price
                                   ($7.08 - $4.00).

        122.    Redacted copies of screen shots printed from Defendants’ shared ARx system,

which pertain to and support the foregoing example are attached as Exhibit D.

                                    Missouri Medicaid Example

Prescription:            Atenolol 50mg, 30-day supply

Pharmacy:                Shop N’ Save pharmacy, Kirkwood, Missouri

Drug Acquisition Cost:   $1.04

Cash Customer            $4.00     Actual U&C price paid by a cash customer (price match)


Medicaid Customer 4-B    $0.50     Co-payment paid by Medicaid beneficiary
Date: 05/16/11
                         $10.69    Inflated U&C price fraudulently reported by SuperValu for claim submission
                                   and adjudication

    (Medicaid            $14.32    Reimbursement amount paid by Medicaid, presumed to include recorded
    Reimbursement)                 dispensing fee

                         $14.82    Total reimbursement received by SuperValu, comprised of the beneficiary co-
                                   payment and Medicaid reimbursement ($0.50 + $14.32)

Amount Medicaid          $3.50     The difference between SuperValu’s actual U&C cash customer price and the
Should Have Paid                   beneficiary’s co-payment ($4.00 - $0.50)

Over payment             $10.82    The difference between 1) the total reimbursement paid by Medicaid and the
                                   amount Medicaid should have paid ($14.32 - $3.50), or 1) the total
                                   reimbursement SuperValu received less the actual U&C cash customer price
                                   ($14.82 - $4.00).

        123.    Redacted copies of screen shots printed from Defendants’ shared ARx system,

which pertain to and support the foregoing example are attached as Exhibit E.

                                  (2). Comparative 60-day Example


                                                    37
        3:11-cv-03290-RM-TSH # 33               Page 38 of 61



        124.    The following table summarizes and analyzes reasonably concurrent drug sales to

a cash customer and a Medicaid beneficiary, and provides a clear example of Defendants’

submission of a false claim to the GHP for more than the balance remaining unpaid on the U&C

price Defendants charged to cash customers, after crediting the Medicaid beneficiary’s co-

payment:

                                     Illinois Medicaid Example

Prescription:            Naproxen 500mg, 60-day supply

Pharmacy:                Osco Pharmacy, Springfield, Illinois

Drug Acquisition Cost:   $1.82

Cash Customer 4-A        $4.00    Actual U&C price paid by the cash customer (price match), recorded by
Date: 06/06/11                    SuperValu as a co-payment

Medicaid Customer 4-B    $0.00    Co-payment paid by Medicaid beneficiary
Date: 07/15/11
                         $16.69   Inflated U&C price fraudulently reported by SuperValu for claim submission
                                  and adjudication

    (Medicaid            $7.47    Reimbursement amount paid by Medicaid, presumed to include recorded
    Reimbursement)                dispensing fee

                         $7.47    Total reimbursement received by SuperValu, comprised of the beneficiary co-
                                  payment and Medicaid reimbursement ($0.00 + $7.47)

Amount Medicaid          $4.00    The difference between SuperValu’s actual U&C cash customer price and the
Should Have Paid                  beneficiary’s co-payment ($4.00 - $0.00)

Over payment             $3.47    The difference between 1) the total reimbursement paid by Medicaid and the
                                  amount Medicaid should have paid ($7.47 - $4.00), or 1) the total
                                  reimbursement SuperValu received less the actual U&C cash customer price
                                  ($7.47 - $4.00).



        125.    Redacted copies of screen shots printed from Defendants’ shared ARx system

which pertain to and support the foregoing example are attached as Exhibit F.

                                  (3). Comparative 90-day Example

        126.    The following table summarizes and analyzes reasonably concurrent drug sales to

a cash customer and a Medicare Part D Plan member, and provides a clear example of



                                                    38
        3:11-cv-03290-RM-TSH # 33              Page 39 of 61



Defendants’ submission of a false claim to the GHP for more than the balance remaining unpaid

on the U&C price Defendant charged to cash customers, after crediting the plan members’ co-

payment:

                                     Medicare Part D Example

Prescription:            Lovastatin 20mg

Pharmacy:                Shop N’ Save Pharmacy, Arnold, Missouri

Drug Acquisition Cost:   $3.32

Cash Customer 1-A        $10.00   Actual U&C price paid by the cash customer, recorded by SuperValu as a co-
Date: 04/30/11                    payment

Part D Customer 1-B      $0.00    Co-payment paid by Part D beneficiary
Date: 04/26/11
                         $80.69   Inflated U&C price fraudulently reported by SuperValu for claim submission
                                  and adjudication

    (Part D              $47.99   Reimbursement amount paid by Medicare Part D, presumed to include
    Reimbursement)                dispensing fee

                         $47.99   Total reimbursement received by SuperValu, comprised of the beneficiary co-
                                  payment and Medicare Part D reimbursement

Amount Medicare          $10.00   The difference between SuperValu’s actual U&C cash customer price and the
Should Have Paid                  beneficiary’s co-payment

Over payment             $37.99   The difference between 1) the total reimbursement paid by Medicare Part D
                                  and the amount Medicare should have paid ($47.99 - $10.00), or 2) the total
                                  reimbursement SuperValu received less the actual U&C customer cash price
                                  ($47.99 - $10.00).

        127.    Redacted copies of screen shots printed from Defendants’ shared ARx system

which pertain to and support the foregoing example are attached as Exhibit G.

                           COUNT I – FEDERAL FALSE CLAIMS ACT

        128.    Relators incorporate by reference and re-allege Paragraphs 1- 127 as if fully set

forth herein.

        129.    With respect to pharmaceuticals included in Defendants national competitors’

discount programs that were price matched, Defendants have knowingly engaged, and continue

to engage, in the fraudulent pattern and practice of submitting false claims for reimbursement to


                                                   39
       3:11-cv-03290-RM-TSH # 33           Page 40 of 61



Federal Health Care Programs and State Medicaid Programs with inflated Usual and Customary

and Negotiated Prices that deny the United States the discounted Usual and Customary prices

offered by Defendants to the general public.

       130.   As alleged in Paragraph 44 above, the Federal Government pays a share of the

medical assistance expenditures under each State's Medicaid program known as the FMAP or

FFP.

       131.   The payment by the various States’ Medicaid programs of Defendants’ false and

fraudulent Medicaid clams resulted in the Federal Government paying an inflated FMAP and/or

FFP, which it should not have been paid.

       132.   Title 31 U.S.C. § 3729 of the FCA states in pertinent part as follows:

       (a) LIABILITY FOR CERTAIN ACTS

       (1) IN GENERAL.—Subject to paragraph (2), any person who—

       (A)    knowingly presents, or causes to be presented, a false or fraudulent claim for
              payment or approval;

       (B)    knowingly makes, uses, or causes to be made or used, a false record or statement
              material to a false or fraudulent claim;

       (C)    conspires to commit a violation of subparagraph (A), (B), (D), (E), (F), or (G);

       (D)    has possession, custody, or control of property or money used, or to be used, by
              the Government and knowingly delivers, or causes to be delivered, less than all of
              that money or property;

       (E)    is authorized to make or deliver a document certifying receipt of property used, or
              to be used, by the Government and, intending to defraud the Government, makes
              or delivers the receipt without completely knowing that the information on the
              receipt is true;

       (F)    knowingly buys, or receives as a pledge of an obligation or debt, public property
              from an officer or employee of the Government, or a member of the Armed
              Forces, who lawfully may not sell or pledge property; or




                                               40
       3:11-cv-03290-RM-TSH # 33           Page 41 of 61



       (G)     knowingly makes, uses, or causes to be made or used, a false record or statement
               material to an obligation to pay or transmit money or property to the Government,
               or knowingly conceals or knowingly and improperly avoids or decreases an
               obligation to pay or transmit money or property to the Government,

       is liable to the United States Government for a civil penalty of not less than $5,000 and
       not more than $10,000, as adjusted by the Federal Civil Penalties Inflation Adjustment
       Act of 1990 (28 U.S.C. 2461 note; Public Law 104-410), plus 3 times the amount of
       damages which the Government sustains because of the act of that person.

       133.    Defendants knowingly presented, or caused to be presented, false or fraudulent

claims to federal and state government healthcare programs for payment or approval.

       134.    Defendants knowingly made, used, or caused to be made or used, false records or

statements material to false or fraudulent claims that were paid or approved by the Government.

       135.    Defendants defrauded the Government by getting false or fraudulent claims

allowed or paid.

       136.    The Government, unaware of the falsity of the records, statements or claims made

by Defendants, paid them for claims that would otherwise not have been allowed.

       137.    Defendants knowingly made, used, or caused to be made or used, false records or

statements to conceal, avoid or decrease obligations to pay or transmit money or property to the

Government.

       138.    By reason of these payments, the Government has been damaged and continues to

suffer damages in a substantial amount.

       139.    The Government, unaware of the falsity of the claims made by Defendants and

lacking knowledge of the above described fraudulent acts, relied on the accuracy of Defendants’

reimbursement claims to GHPs to its detriment.

       140.    The Government, being unaware of the inaccuracies and documentation

deficiencies submitted by Defendants, paid and continues to pay them for claims that should not




                                               41
       3:11-cv-03290-RM-TSH # 33              Page 42 of 61



have been, and should not be paid, based upon Defendants’ false and fraudulent reimbursement

claims to GHPs.

                               COUNT II - CALIFORNIA FALSE CLAIMS ACT

        141.    Relators incorporate by reference and re-allege Paragraphs 1- 127 as if fully set

forth herein.

        142.    This action is brought by Relators pursuant to the submission of False Claims to

the State of California in violation of California False Claims Act, CAL. GOV’T. CODE § 12650, et

seq.

        143.    The allegations set forth herein constitute violations of this state’s false claims act

for which the Relators seek the maximum award pursuant to statute.

                   COUNT III – DELAWARE FALSE CLAIMS AND REPORTING ACT

        144.    Relators incorporate by reference and re-allege Paragraphs 1- 127 as if fully set

forth herein.

        145.    This action is brought by Relators pursuant to the Submission of False Claims to

the State of Delaware in violation of the Delaware False Claims and Reporting Act, DEL. CODE

ANN. tit. 6, § 1201, et seq.

        146.    The allegations set forth herein constitute violations of this state’s false claims act

for which the Relators seeks the maximum award pursuant to statute.

                                COUNT IV - ILLINOIS FALSE CLAIMS ACT

        147.    Relators incorporate by reference and re-allege Paragraphs 1- 127 as if fully set

forth herein.

        148.    This action is brought by Relators pursuant to the Submission of False Claims to

the State of Illinois in violation of the Illinois False Claims Act, 740 ILL. COMP. STAT. 175/1, et seq.




                                                   42
       3:11-cv-03290-RM-TSH # 33              Page 43 of 61



       149.     The allegations set forth herein constitute violations of this state’s false claims act

for which the Relators seeks the maximum award pursuant to statute.

          COUNT V – INDIANA FALSE CLAIMS AND WHISTLEBLOWER PROTECTION ACT

       150.     Relators incorporate by reference and re-allege Paragraphs 1- 127 as if fully set

forth herein.

       151.     This action is brought by Relators pursuant to the Submission of False Claims to

the State of Indiana in violation of the Indiana False Claims and Whistleblower Protection Act, IND.

CODE § 5-11-5-1, et seq.

       152.     The allegations set forth herein constitute violations of this state’s false claims act

for which the Relators seek the maximum award pursuant to statute.

                           COUNT VI - MASSACHUSETTS FALSE CLAIMS ACT

       153.     Relators incorporate by reference and re-allege Paragraphs 1- 127 as if fully set

forth herein.

       154.     This action is brought by Relators pursuant to the Submission of False Claims to

the State of Massachusetts in violation of the Massachusetts False Claims Act, MASS. GEN. LAWS

ch.12, § 5A, et seq.

       155.     The allegations set forth herein constitute violations of this state’s false claims act

for which the Relators seek the maximum award pursuant to statute.

                            COUNT VII – MINNESOTA FALSE CLAIMS ACT

       156.     Relators incorporate by reference and re-allege Paragraphs 1-127 as if fully set

forth herein.




                                                  43
        3:11-cv-03290-RM-TSH # 33             Page 44 of 61



        157.    This action is brought by Relators pursuant to the Submission of False Claims to

the State of Minnesota in violation of the Minnesota False Claims Act, MINN. STAT. § 15C.01, et

seq.

        158.    The allegations set forth herein constitute violations of this state’s false claims act

for which the Relators seek the maximum award pursuant to statute.

                               COUNT VIII - MONTANA FALSE CLAIMS ACT

        159.    Relators incorporate by reference and re-allege Paragraphs 1- 127 as if fully set

forth herein.

        160.    This action is brought by Relators pursuant to the Submission of False Claims to

the State of Montana in violation of the Montana False Claims Act, MONT. CODE. ANN. § 17-8-401,

et seq., effective July 1, 2009.

        161.    The allegations set forth herein constitute violations of this state’s false claims act

for which the Relators seek the maximum award pursuant to statute.

                                   COUNT IX - NEVADA FALSE CLAIMS ACT

        162.    Relators incorporate by reference and re-allege Paragraphs 1- 127 as if fully set

forth herein.

        163.    This action is brought by Relators pursuant to the Submission of False Claims to

the State of Nevada in violation of the Nevada False Claims Act, NEV. REV. STAT. § 357.010, et seq.

        164.    The allegations set forth herein constitute violations of this state’s false claims act

for which the Relators seek the maximum award pursuant to statute.

                               COUNT X - NEW JERSEY FALSE CLAIMS ACT

        165.    Relators incorporate by reference and re-allege Paragraphs 1- 127 as if fully set

forth herein.




                                                  44
        3:11-cv-03290-RM-TSH # 33             Page 45 of 61



        166.    This action is brought by Relators pursuant to the Submission of False Claims to

the State of New Jersey in violation of the New Jersey False Claims Act, N.J. STAT. ANN. §

2A:32C-1, et seq.

        167.    The allegations set forth herein constitute violations of this state’s false claims act

for which the Relators seek the maximum award pursuant to statute.

                         COUNT XI – NORTH CAROLINA FALSE CLAIMS ACT

        168.    Relators incorporate by reference and re-allege Paragraphs 1- 127 as if fully set

forth herein.

        169.    This action is brought by Relators pursuant to the Submission of False Claims to

the State of North Carolina in violation of the North Carolina False Claims Act, N.C. STAT. ART.

51, § 1-605, et seq.

        170.    The allegations set forth herein constitute violations of this state’s false claims act

for which the Relators seek the maximum award pursuant to statute.

                          COUNT XII – RHODE ISLAND FALSE CLAIMS ACT

        171.    Relators incorporate by reference and re-allege Paragraphs 1-127 as if fully set

forth herein.

        172.    This action is brought by Relators pursuant to the Submission of False Claims to

the State of Rhode Island in violation of the Rhode Island False Claims Act, R.I. GEN LAWS§ 9-1.1-

1, et seq.

        173.    The allegations set forth herein constitute violations of this state’s false claims act

for which the Relators seek the maximum award pursuant to statute.

                COUNT XIII - STATE OF VIRGINIA FRAUD AGAINST TAXPAYERS ACT




                                                  45
       3:11-cv-03290-RM-TSH # 33              Page 46 of 61



       174.     Relators incorporate by reference and re-allege Paragraphs 1- 127 as if fully set

forth herein.

       175.     This action is brought by Relators pursuant to the Submission of False Claims to

the State of Virginia in violation of the Virginia Fraud Against Taxpayers Act, VA. CODE ANN. §

8.01-216.1, et seq.

       176.     The allegations set forth herein constitute violations of this state’s false claims act

for which the Relators seek the maximum award pursuant to statute.

                                              PRAYER

       WHEREFORE, for Counts I through XIII, Relators pray for judgment jointly and

severally against Supervalu, Inc., Supervalu Holdings, Inc., FF Acquisitions, LLC, Foodarama,

LLC, Shoppers Food Warehouse Corp., Supervalu Pharmacies, Inc., Albertson’s, LLC, Jewel

Osco Southwest LLC, New Albertson’s, Inc., American Drug Stores, LLC, Acme Markets, Inc.,

Shaw’s Supermarket, Inc., Star Market Company, Inc., Jewel Food Stores, Inc., and their

subsidiaries, affiliates, and related organizations, including but not limited to SuperValu,

Albertsons, Acme Sav-On Pharmacy, Albertsons Osco Pharmacy, Albertsons Sav-On Pharmacy,

Bigg’s Pharmacy, Cub Pharmacy, Farm Fresh Pharmacy, Jewel Pharmacy, Jewel-Osco

Pharmacy, Save-A-Lot, Shaw’s Osco Pharmacy, Scott’s Pharmacy, Shop N’ Save Pharmacy,

Shop N’ Save Osco Pharmacy, Shoppers Pharmacy, and Star Osco Pharmacy (hereinafter

collectively referred to as “SuperValu”) as follows:

           A. Defendants, their subsidiaries, affiliates, and related organizations be found to

                have violated and be enjoined from future violations of the Federal False Claims

                Act, 31 U.S.C. § 3729, California False Claims Act, CAL. GOV’T. CODE §

                12651(a), the Delaware False Claims and Reporting Act, DEL. CODE ANN. tit. 6, §




                                                  46
3:11-cv-03290-RM-TSH # 33         Page 47 of 61



     1201, the Illinois False Claims Act, 740 ILL. COMP. STAT. 175/3, the Indiana False

     Claims and Whistleblower Protection Act, IND. CODE § 5-11-5-2, the Massachusetts

     False Claims Act, MASS. GEN. LAWS ch.12, § 5(B), the Minnesota False Claims Act,

     MINN. STAT. § 15C.02(a), the Montana False Claims Act, MONT. CODE. ANN. § 17-

     8-403, the Nevada False Claims Act, NEV. REV. STAT. § 357.040(1), the New Jersey

     False Claims Act, N.J. STAT. ANN. § 2A:32C-3, the North Carolina False Claims

     Act, N.C. STAT. ART. 51, § 1-607(a), the Rhode Island False Claims Act, R.I. GEN

     LAWS§ 9-1.1-1, and the Virginia Fraud Against Taxpayers Act, VA. CODE ANN. §

     8.01-216.3.

  B. This Court enter judgment against Defendants, their subsidiaries, affiliates, and

     related organizations for the maximum amount of damages sustained by The

     United States and each State because of their false or fraudulent claims, plus the

     maximum civil penalty for each violation of the Federal False Claims Act, 31

     U.S.C. § 3729, California False Claims Act, CAL. GOV’T. CODE § 12651(a), the

     Delaware False Claims and Reporting Act, DEL. CODE ANN. tit. 6, § 1201, the

     Illinois False Claims Act, 740 ILL. COMP. STAT. 175/3, the Indiana False Claims

     and Whistleblower Protection Act, IND. CODE § 5-11-5-2, the Massachusetts False

     Claims Act, MASS. GEN. LAWS ch.12, § 5(B), the Minnesota False Claims Act,

     MINN. STAT. § 15C.02(a), the Montana False Claims Act, MONT. CODE. ANN. § 17-

     8-403, the Nevada False Claims Act, NEV. REV. STAT. § 357.040(1), the New Jersey

     False Claims Act, N.J. STAT. ANN. § 2A:32C-3, the North Carolina False Claims

     Act, N.C. STAT. ART. 51, § 1-607(a), the Rhode Island False Claims Act, R.I. GEN




                                      47
3:11-cv-03290-RM-TSH # 33          Page 48 of 61



     LAWS§ 9-1.1-1, the Virginia Fraud Against Taxpayers Act, VA. CODE ANN. § 8.01-

     216.,.

  C. This Court enters judgment against Defendants, their subsidiaries, affiliates, and

     related organizations in an amount equal to three times the amount of damages the

     Government has sustained because of their false or fraudulent claims, plus the

     maximum civil penalty for each violation of the various State false claims acts.

  D. Relators be awarded the maximum amount allowed pursuant to the Federal False

     Claims Act, 31 U.S.C. § 3729, California False Claims Act, CAL. GOV’T. CODE §

     12651(a), the Delaware False Claims and Reporting Act, DEL. CODE ANN. tit. 6, §

     1201, the Illinois False Claims Act, 740 ILL. COMP. STAT. 175/3, the Indiana False

     Claims and Whistleblower Protection Act, IND. CODE § 5-11-5-2, the Massachusetts

     False Claims Act, MASS. GEN. LAWS ch.12, § 5(B), the Minnesota False Claims Act,

     MINN. STAT. § 15C.02(a), the Montana False Claims Act, MONT. CODE. ANN. § 17-

     8-403, the Nevada False Claims Act, NEV. REV. STAT. § 357.040(1), the New Jersey

     False Claims Act, N.J. STAT. ANN. § 2A:32C-3, the North Carolina False Claims

     Act, N.C. STAT. ART. 51, § 1-607(a), the Rhode Island False Claims Act, R.I. GEN

     LAWS§ 9-1.1-1, the Virginia Fraud Against Taxpayers Act, VA. CODE ANN. § 8.01-

     216.3, and all relief to which they are entitled pursuant to said laws.

  E. Relators be awarded all costs of this action, including expert witness fees, attorneys’

     fees, and court costs.

  F. Relators recover such other relief as the Court deems just and proper.

                                             Respectfully Submitted,

                                                /s/ Timothy Keller
                                             Timothy Keller,



                                        48
3:11-cv-03290-RM-TSH # 33   Page 49 of 61



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                               49
                                                                     3:11-cv-03290-RM-TSH # 33                                                    Page 50 of 61
                                                                             Federal Register / Vol. 72, No. 228 / Wednesday, November 28, 2007 / Notices                                                                                   67305

                                          Development Funds, Foster Care Title                                            The ‘‘Federal Medical Assistance                                            percentage points by which (1) such Federal
                                          IV–E Maintenance payments, and                                                Percentages’’ are for Medicaid. Section                                       medical assistance percentage for the State, is
                                          Adoption Assistance payments. The                                             1905(b) of the Act specifies the formula                                      less than (2) 100 percent; but in no case shall
                                                                                                                        for calculating Federal Medical                                               the enhanced FMAP for a State exceed 85
                                          table gives figures for each of the 50                                                                                                                      percent.
                                          States, the District of Columbia, Puerto                                      Assistance Percentages as follows:
                                          Rico, the Virgin Islands, Guam,                                                  ‘‘Federal medical assistance percentage’’                                     The ‘‘Enhanced Federal Medical
                                          American Samoa, and the                                                       for any State shall be 100 per centum less the                                Assistance Percentages’’ are for use in
                                          Commonwealth of the Northern Mariana                                          State percentage; and the State percentage                                    the State Children’s Health Insurance
                                          Islands. Programs under title XIX of the                                      shall be that percentage which bears the same                                 Program under Title XXI, and in the
                                                                                                                        ratio to 45 per centum as the square of the                                   Medicaid program for certain children
                                          Act existing each jurisdiction. Programs
                                                                                                                        per capita income of such State bears to the                                  for expenditures for medical assistance
                                          under titles I, X, and XIV operate only                                       square of the per capita income of the
                                          in Guam and the Virgin Islands, while                                         continental United States (including Alaska)
                                                                                                                                                                                                      described in sections 1905(u)(2) and
                                          a program under the title XVI (Aid to                                         and Hawaii; except that (1) the Federal                                       1905(u)(3) of the Act. There is no
                                          the Aged, Blind, or Disabled) operates                                        medical assistance percentage shall in no                                     specific requirement to publish the
                                          only in Puerto Rico.                                                          case be less than 50 per centum or more than                                  Enhanced Federal Medical Assistance
                                                                                                                        83 per centum, (2) the Federal medical                                        Percentages. We include them in this
                                             Programs under title XXI began                                             assistance percentage for Puerto Rico, the                                    notice for the convenience of the States.
                                          operating in fiscal year 1998. The                                            Virgin Islands; Guam, the Northern Mariana
                                                                                                                        Islands, and American Samoa shall be 50 per                                   DATES: Effective Dates: The percentages
                                          percentages in this notice apply to State
                                          expenditures for most medical services                                        centum. * * *                                                                 listed will be effective for each of the 4
                                          and medical insurance services, and                                                                                                                         quarter-year periods in the period
                                                                                                                           Section 4725(b) of the Balanced
                                          assistance payments for certain social                                                                                                                      beginning October 1, 2008 and ending
                                                                                                                        Budget Act of 1997 amended section
                                          services. The statute provides separately                                                                                                                   September 30, 2009.
                                                                                                                        1905(b) to provide that the Federal
                                          for Federal matching of administrative                                        Medical Assistance Percentage for the                                         FOR FURTHER INFORMATION CONTACT:
                                          costs.                                                                        District of Columbia for purposes of                                          Thomas Musco or Carrie Shelton, Office
                                                                                                                        titles XIX, and for the purpose of                                            of Health Policy, Office of the Assistant
                                             Sections 1905(b) and 1101(a)(8)(B) of
                                                                                                                        calculating the enhanced FMAP under                                           Secretary for Planning and Evaluation,
                                          the Act require the Secretary, HHS to
                                                                                                                        title XXI, shall be 70 percent. For the                                       Room 447D-Hubert H. Humphrey
                                          publish the Federal Medical Assistance
                                                                                                                        District of Columbia, we note under the                                       Building, 200 Independence Avenue,
                                          Percentages each year. The Secretary is
                                                                                                                        table of Federal Medical Assistance                                           SW., Washington, DC 20201, (202) 690–
                                          to calculate the percentages, using
                                                                                                                        Percentages the rate that applies in                                          6870.
                                          formulas in sections 1905(b) and
                                          1101(a)(8)(B), from the Department of                                         certain other programs calculated using                                       (Catalog of Federal Domestic Assistance
                                                                                                                        the formula otherwise applicable, and                                         Program Nos. 93.558: TANF Contingency
                                          Commerce’s statistics of average income
                                                                                                                        the rate that applies in certain other                                        Funds; 93.563: Child Support Enforcement;
                                          per person in each State and for the                                                                                                                        93–596: Child Care Mandatory and Matching
                                                                                                                        programs pursuant to section 1118 of
                                          Nation as a whole. The percentages are                                                                                                                      Funds of the Child Care and Development
                                                                                                                        the Social Security Act.
                                          within the upper and lower limits given                                          Section 2105(b) of the Act specifies                                       Fund; 93.658: Foster Care Title IV–E; 93.659:
                                          in section 1905(b) of the Act. The                                            the formula for calculating the                                               Adoption Assistance; 93.769: Ticket-to-Work
                                          percentages to be applied to the District                                     Enhanced Federal Medical Assistance                                           and Work Incentives Improvement Act
                                          of Columbia, Puerto Rico, the Virgin                                                                                                                        (TWWIIA) Demonstrations to Maintain
                                                                                                                        Percentages as follows:                                                       Independence and Employment; 93.778:
                                          Islands, Guam, American Samoa, and
                                          the Northern Mariana Islands are                                                 The ‘‘enhanced FMAP’’, for a State for a                                   Medical Assistance Program; 93.767: State
                                                                                                                        fiscal year, is equal to the Federal medical                                  Children’s Health Insurance Program)
                                          specified in statute, and thus are not                                        assistance percentage (as defined in the first
                                          based on the statutory formula that                                                                                                                           Dated: November 19, 2007.
                                                                                                                        sentence of section 1905(b)) for the State
                                          determines the percentages for the 50                                         increased by a number of percentage points                                    Michael O. Leavitt,
                                          states.                                                                       equal to 30 percent of the number of                                          Secretary of Health and Human Services.

                                                    FEDERAL MEDICAL ASSISTANCE PERCENTAGES AND ENHANCED FEDERAL MEDICAL ASSISTANCE PERCENTAGES,
                                                                   EFFECTIVE OCTOBER 1, 2008–SEPTEMBER 30, 2009 (FISCAL YEAR 2009)
                                                                                                                                                                                                                 Federal medical    Enhanced federal
                                                                                                                       State                                                                                     assistance per-     medical assist-
                                                                                                                                                                                                                    centages        ance percentages

                                          Alabama .......................................................................................................................................................                   67.98              77.59
                                          Alaska ..........................................................................................................................................................                 50.53              65.37
                                          American Samoa* ........................................................................................................................................                          50.00              65.00
                                          Arizona .........................................................................................................................................................                 65.77              76.04
                                          Arkansas ......................................................................................................................................................                   72.81              80.97
                                          California ......................................................................................................................................................                 50.00              65.00
                                          Colorado ......................................................................................................................................................                   50.00              65.00
                                          Connecticut ..................................................................................................................................................                    50.00              65.00
                                          Delaware ......................................................................................................................................................                   50.00              65.00
                                          District of Columbia** ...................................................................................................................................                        70.00              79.00
                                          Florida ..........................................................................................................................................................                55.40              68.78
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                                          Georgia ........................................................................................................................................................                  64.49              75.14
                                          Guam* ..........................................................................................................................................................                  50.00              65.00
                                          Hawaii ..........................................................................................................................................................                 55.11              68.58
                                          Idaho ............................................................................................................................................................                69.77              78.84
                                          Illinois ...........................................................................................................................................................              50.32              65.22
                                          Indiana .........................................................................................................................................................                 64.26              74.98

                                                                                                                                                                                                                                     Exhibit
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                                                                    3:11-cv-03290-RM-TSH # 33                                                   Page 51 of 61
                                          67306                             Federal Register / Vol. 72, No. 228 / Wednesday, November 28, 2007 / Notices

                                                    FEDERAL MEDICAL ASSISTANCE PERCENTAGES AND ENHANCED FEDERAL MEDICAL ASSISTANCE PERCENTAGES,
                                                             EFFECTIVE OCTOBER 1, 2008–SEPTEMBER 30, 2009 (FISCAL YEAR 2009)—Continued
                                                                                                                                                                                                               Federal medical    Enhanced federal
                                                                                                                      State                                                                                    assistance per-     medical assist-
                                                                                                                                                                                                                  centages        ance percentages

                                          Iowa .............................................................................................................................................................              62.62              73.83
                                          Kansas .........................................................................................................................................................                60.08              72.06
                                          Kentucky ......................................................................................................................................................                 70.13              79.09
                                          Louisiana ......................................................................................................................................................                71.31              79.92
                                          Maine ...........................................................................................................................................................               64.41              75.09
                                          Maryland ......................................................................................................................................................                 50.00              65.00
                                          Massachusetts .............................................................................................................................................                     50.00              65.00
                                          Michigan .......................................................................................................................................................                60.27              72.19
                                          Minnesota ....................................................................................................................................................                  50.00              65.00
                                          Mississippi ....................................................................................................................................................                75.84              83.09
                                          Missouri ........................................................................................................................................................               63.19              74.23
                                          Montana .......................................................................................................................................................                 68.04              77.63
                                          Nebraska ......................................................................................................................................................                 59.54              71.68
                                          Nevada .........................................................................................................................................................                50.00              65.00
                                          New Hampshire ...........................................................................................................................................                       50.00              65.00
                                          New Jersey ..................................................................................................................................................                   50.00              65.00
                                          New Mexico .................................................................................................................................................                    70.88              79.62
                                          New York .....................................................................................................................................................                  50.00              65.00
                                          North Carolina ..............................................................................................................................................                   64.00              75.22
                                          North Dakota ................................................................................................................................................                   63.15              74.21
                                          Northern Mariana Islands* ...........................................................................................................................                           50.00              65.00
                                          Ohio .............................................................................................................................................................              62.14              73.50
                                          Oklahoma .....................................................................................................................................................                  65.90              76.13
                                          Oregon .........................................................................................................................................................                62.45              73.72
                                          Pennsylvania ................................................................................................................................................                   54.52              68.16
                                          Puerto Rico* .................................................................................................................................................                  50.00              65.00
                                          Rhode Island ................................................................................................................................................                   52.59              66.81
                                          South Carolina .............................................................................................................................................                    70.07              79.05
                                          South Dakota ...............................................................................................................................................                    62.55              73.79
                                          Tennessee ...................................................................................................................................................                   64.28              75.00
                                          Texas ...........................................................................................................................................................               59.44              71.61
                                          Utah .............................................................................................................................................................              70.71              79.50
                                          Vermont .......................................................................................................................................................                 59.45              71.62
                                          Virgin Islands* ..............................................................................................................................................                  50.00              65.00
                                          Virginia .........................................................................................................................................................              50.00              65.00
                                          Washington ..................................................................................................................................................                   50.94              65.66
                                          West Virginia ................................................................................................................................................                  73.73              81.61
                                          Wisconsin .....................................................................................................................................................                 59.38              71.57
                                          Wyoming ......................................................................................................................................................                  50.00              65.00
                                             * For purposes of section 1118 of the Social Security Act, the percentage used under titles I, X, XIV, and XVI will be 75 per centum.
                                             ** The values for the District of Columbia in the table were set for the state plan under titles XIX and XXI and for capitation payments and DSH
                                          allotments under those titles. For other purposes, including program remaining in Title IV of the Act, the percentage for D.C. is 50.00.


                                          [FR Doc. 07–5847 Filed 11–27–07; 8:45 am]                                    Chapter PG, ‘‘Federal Occupational                                           provided include consultations to
                                          BILLING CODE 4150–24–M                                                       Health Service (FOHS).’’ This                                                agency management, program design to
                                                                                                                       amendment realigns FOHS functions to                                         meet customer needs, service provider
                                                                                                                       increase efficiency, effectiveness, and                                      selection, direct provision of services,
                                          DEPARTMENT OF HEALTH AND                                                     management controls.                                                         and program oversight and evaluation.
                                          HUMAN SERVICES                                                                  I. Under Chapter PG, ‘‘Federal                                              Section PEK.10 Organization. FOHS is
                                                                                                                       Occupational Health Service’’ (PG),                                          headed by a Director who reports to the
                                          Office of the Assistant Secretary for                                        delete the functions entirely and replace                                    Deputy Assistant Secretary for Program
                                          Administration and Management;                                               with the following:                                                          Support, and includes the following
                                          Program Support Center; Statement of                                            Section PEK.00 Mission. The mission                                       components:
                                          Organization, Functions, and                                                 of the Federal Occupational Health                                             1. Office of the Director (PGA).
                                          Delegations of Authority                                                     Service (FOHS) is to improve the health,
                                                                                                                                                                                                      2. Division of Clinical Services (PGB).
                                                                                                                       safety, and productivity of the Federal
                                            Part P, Statement of Organization,                                         workforce through the provision of                                             3. Division of Employee Assistance
                                          Functions, and Delegations of Authority                                      comprehensive, high-quality, customer-                                       Program Services (PGC).
                                          for the Department of Health and                                             focused occupational health services in                                        4. Division of Environmental Health
                                          Human Services, Office of the Assistant                                      strategic partnership with Federal                                           Services (PGE).
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                                          Secretary for Administration and                                             agencies nation-wide. The services                                             5. Division of Administration and
                                          Management (AJ), Program Support                                             provided include health and wellness                                         Resource Management (PGF).
                                          Center (P), as last amended at 68 FR                                         programs, employee assistance, work/                                           6. Division of Business Development
                                          69411–12, dated December 12, 2003 is                                         life, and environmental health and                                           (PGG).
                                          being amended to reflect changes in                                          safety services. The services that FOHS                                        Section PEK.20 Functions.


                                     VerDate Aug<31>2005          15:18 Nov 27, 2007         Jkt 214001       PO 00000        Frm 00041        Fmt 4703       Sfmt 4703       E:\FR\FM\28NON1.SGM              28NON1
3:11-cv-03290-RM-TSH # 33   Page 52 of 61




                                            Exhibit
                                              B
                                                      SchutteYarberry000199
3:11-cv-03290-RM-TSH # 33   Page 53 of 61




                                            Exhibit
                                              C
                                                      SchutteYarberry000139
3:11-cv-03290-RM-TSH # 33   Page 54 of 61




                                            SchutteYarberry000144
3:11-cv-03290-RM-TSH # 33   Page 55 of 61




                                            Exhibit
                                              D
                                                      SchutteYarberry000227
3:11-cv-03290-RM-TSH # 33   Page 56 of 61




                                            SchutteYarberry000228
3:11-cv-03290-RM-TSH # 33   Page 57 of 61




                                                  Exhibit
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                                            SchutteYarberry000028
3:11-cv-03290-RM-TSH # 33   Page 58 of 61




                                            Exhibit
                                              F
                                                      SchutteYarberry000231
3:11-cv-03290-RM-TSH # 33   Page 59 of 61




                                            SchutteYarberry000232
3:11-cv-03290-RM-TSH # 33   Page 60 of 61




                                            Exhibit
                                              G       SchutteYarberry000051
3:11-cv-03290-RM-TSH # 33   Page 61 of 61




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